         Case 22-33553 Document 808 Filed in TXSB on 08/09/24 Page 1 of 8




                   THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

In re:                                §
                                      §           Case No. 22-33553
ALEXANDER E. JONES                    §           (Chapter 7)
                                      §
         Debtor.                      §


                      TRUSTEE’S EXPEDITED MOTION
         TO EXTEND SECTION 365(D)(1) DEADLINE TO ASSUME OR REJECT

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

EXPEDITED RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EXPEDITED BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE
THAT THE EXPEDITED CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

EXPEDITED RELIEF IS REQUESTED BEFORE AUGUST 13, 2024.

IF A HEARING IS HELD ON THIS MOTION, INFORMATION REGARDING
TELEPHONIC AND/OR VIDEO CONFERENCE PARTICIPATION CAN BE FOUND
ON THE COURT’S WEBSITE.




                                    Page 1 of 8
        Case 22-33553 Document 808 Filed in TXSB on 08/09/24 Page 2 of 8




TO THE HONORABLE CHRISTOPHER M. LOPEZ,
UNITED STATES BANKRUPTCY JUDGE:

        Christopher Murray, in his capacity as the chapter 7 trustee (“Trustee”) for the bankruptcy

estate of Alexander E. Jones (“Debtor”) files this Expedited Motion to Extend Section 365(d)(1)

Deadline to Assume or Reject (the "Motion"), and respectfully states the following:

                             SUMMARY OF RELIEF REQUESTED

        1.      Expedited relief is being requested before August 13, 2024, because that is when

the current deadline to assume or reject under 11 U.S.C. § 365(d)(1) expires.

        2.      The Trustee seeks entry of an order extending the time period within which the

Trustee must assume or reject executory contracts and unexpired leases of residential real

property 1 under section 365(d)(1) by 60-days, to and including October 12, 2024, as extended by

FED. R. BANKR. P. 9006(a)(1). The deadline under 11 U.S.C. § 365(d)(4) to assume or reject

unexpired leases for nonresidential real property does not expire until October 12, 2024 so the

Trustee is not asking for relief related to the 365(d)(4) deadline through this Motion but reserves

the right to do so at a later time if needed.

                                  JURISDICTION AND VENUE

        3.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The base for the relief requested herein

is section 365(d)(1) of the Bankruptcy Code.

                                      STATUS OF THE CASE

        4.      On December 2, 2022 (“Petition Date”), Alexander E. Jones (“Debtor”) filed his

voluntary petition for relief under chapter 11 of the Bankruptcy Code.




                                                Page 2 of 8
        Case 22-33553 Document 808 Filed in TXSB on 08/09/24 Page 3 of 8




        5.      On June 14, 2024 (“Conversion Date”), the Court entered an Order [DE 708]

converting the bankruptcy case from a case under chapter 11 of the Bankruptcy Code to a case

under chapter 7 of the Bankruptcy Code.

        6.      Upon conversion of the bankruptcy case to a case under chapter 7 of the Bankruptcy

Code, Christopher R. Murray was duly appointed as the chapter 7 trustee (“Trustee”) of the

Debtor’s bankruptcy estate (“Estate”)

        7.      This case involves numerous parties and complex issues that overlap with the now-

dismissed bankruptcy case of the Debtor’s entity Free Speech Systems, LLC (“FSS”) (Case No.

22-60043). Since the Petition Date, the Trustee and his professionals have been actively and

diligently reviewing documents and gathering information, while attempting to identify and

address any immediate time urgent concerns of the Estate. However, due to the complexity of the

case there had not been insufficient time to identify and determine what executory contracts or

leases may exist and, relatedly, whether any such executory contracts and leases should or could

be assumed or rejected.

        8.      As a result, the Trustee requires additional time to identify and analyze any

executory contracts and leases in light of his overall efforts to maximize the value of the Estates

for the benefit of their stakeholders.

                               BASIS FOR RELIEF REQUESTED

        9.      Section 365(d)(1) of the Bankruptcy Code provides:

        In a case under chapter 7 of this title, if the trustee does not assume or reject an
        executory contract or unexpired lease of residential real property or of personal
        property of the debtor within 60 days after the order for relief, or within such
        additional time as the court, for cause, within such 60-day period, fixes, then such
        contract or lease is deemed rejected.

        10.     11 U.S.C. § 348(a) provides that the “[c]onversion of a case from a case under one

chapter of this title to a case under another chapter of this title constitutes an order for relief.” 11
                                             Page 3 of 8
        Case 22-33553 Document 808 Filed in TXSB on 08/09/24 Page 4 of 8




U.S.C. § 348(c) provides that for purposes of section 365(d), the conversion date acts as the date

for the order for relief. Thus, the Trustee must assume or reject the executory contracts and any

unexpired leases for residential real property within 60 days after the Conversion Date of June 14,

2024.

        11.      A court may grant an extension of time to assume or reject executory contracts and

unexpired leases for residential property “for cause.” Courts consider various factors in

determining whether such cause exists, including, but not limited to:

              a. whether the lease is the debtor’s primary asset;

              b. whether the debtor has had sufficient time to intelligently appraise its financial
                 situation and potential value of its assets in terms of the formulation of a plan of
                 reorganization;

              c. whether the lessor continues to receive rent for the use of the property;

              d. whether the debtor’s continued occupation could damage the lessor beyond the
                 compensation available under the Bankruptcy Code;

              e. whether the case is exceptionally complex and involves a large number of leases;

              f. whether the debtor has failed or is unable to formulate a plan when it has had
                 sufficient time to do so; and

              g. any other factors bearing on whether the debtor has had a reasonable amount of
                 time in which to decide whether to assume or reject the lease.

See, e.g., In re Panaco, Inc., 2002 WL 31990368, at *5 (Bankr. S.D. Tex. Dec. 10, 2002) (listing

similar factors to consider when determining whether to extend deadline under Section 365); South

St. Seaport Ltd. P’ship v. Burger Boys, Inc. (In re Burger Boys, Inc.), 94 F.3d 755, 761 (2d Cir.

1996) (same); In re Beautyco, Inc., 307 B.R. 225, 231 (Bankr. N.D. Okla. 2004) (same); In re

Adelphia Commc’ns Corp., 291 B.R. 283, 293 (Bankr. S.D.N.Y. 2003) (same); In re Service

Merch. Co., Inc., 256 B.R. 744, 748 (Bankr. M.D. Tenn. 2000) (same); see also In re Am.




                                              Page 4 of 8
        Case 22-33553 Document 808 Filed in TXSB on 08/09/24 Page 5 of 8




Healthcare Mgt., Inc., 900 F.2d 827, 831 (5th Cir. 1990) (recognizing that a court may extend the

deadline under section 365(d)(4) if “there is ‘cause’ for granting the extension”).

       12.     Here, the Trustee simply has not had sufficient time to evaluate any agreements that

may be subject to the section 365(d)(1) deadline due to the complexity of this case and

extraordinary circumstances surrounding the case. The Trustee merely seeks to preserve the status

quo while the Trustee analyzes the executory contracts and leases to decide whether to assume or

reject them. See, e.g., In re Am. Healthcare Mgt., Inc., 900 F.2d at 833 (“[A]n order extending the

time for a debtor to assume or reject a lease merely preserves the status quo.”).

       13.     As such, the Trustee respectfully requests that the Court extended the 365(d)(1)

deadline by 60-days, without prejudice to his right to seek further extensions for cause, to and

including October 12, 2024 (as extended by FED. R. BANKR. P. 9006(a)(1)).

                                      EX PARTE NOTICE

       14.     The Trustee provided notice to all parties registered to receive notice of the Motion

through the Court’s electronic case filing system. The Trustee believes this notice is sufficient as

Fifth Circuit precedent provides that no notice to counterparties to the agreements is required to

extend the statutory period to assume or reject leases. In re Am. Healthcare Management, Inc.¸900

F.2d 827, 833 (5th Cir. 1990) (holding that “neither section 365(d)(4) nor Rules 6006(a) and 9014

require notice and a hearing before a bankruptcy court grants an extension of time in which a lessee

may assume or reject its leases”).

                              BASIS FOR EXPEDITED RELIEF

       15.     The Trustee seeks expedited relief because the deadline to assume or reject

executory contracts and unexpired leases is August 13, 2024. As set forth above, the Trustee and

his professionals have been diligently working to assess this case after its conversion and



                                            Page 5 of 8
        Case 22-33553 Document 808 Filed in TXSB on 08/09/24 Page 6 of 8




addressing numerous complex issues, including but not limited to related matters arising from the

dismissal of the FSS bankruptcy case and related state court litigation. Notwithstanding, the

Trustee has not been able to determine whether any executory contracts or unexpired leases of the

Debtor should be assumed or rejected. For this reason, the Trustee requests that the Court extend

the 60-day deadline in order to permit the Trustee to properly identify and evaluate any such

agreements and determine whether to accept or reject executory contracts and unexpired leases for

purposes of maximizing the value of the Estate for the benefit of its respective creditors.

                                 RESERVATION OF RIGHTS

       16.     Nothing contained herein is intended or shall be construed as: (a) an admission as

to the validity of any prepetition claim against any of the Debtor or the Estate; (b) a waiver of the

Trustee’s, Debtor’s, or any other party in interest’s rights to dispute any prepetition claim on any

grounds; (c) a promise or requirement to pay a prepetition claims; (d) an implication or admission

that any particular claim is of a type specified or defined in this motion or any order granting the

relief requested by this motion; (e) a request or authorization to assume any prepetition agreement,

contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a waiver of the Trustee’s,

Debtor’s, or any other party in interest’s rights under the Bankruptcy Code or any other applicable

law.




                                            Page 6 of 8
        Case 22-33553 Document 808 Filed in TXSB on 08/09/24 Page 7 of 8




                                            PRAYER

       WHEREFORE, the Trustee respectfully requests that the Court enter an order, granting the

relief requested herein, extend the deadline under Section 365(d)(1) to assume or reject executory

contracts by 60-days to and including October 12, 2024 (as extended by FED. R. BANKR. P.

9006(a)(1)), and such other relief as the Court deems appropriate under law or equity.

Dated: August 9, 2024
                                                     Respectfully submitted,

                                                     JONES MURRAY LLP
                                                     /s/ Jacqueline Q. Chiba
                                                     Erin E. Jones
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                                                     Fax. (832) 529-3393
                                                     CO-COUNSEL FOR THE CHAPTER 7
                                                     TRUSTEE


                               CERTIFICATE OF ACCURACY
       I hereby certify that the facts and circumstances described in the above pleading giving rise
to the request for expedited consideration are true and correct to the best of my knowledge,
information, and belief.
                                                             /s/ Christopher Murray
                                                             Christopher R. Murray


                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the forgoing was served on August 9, 2024
through the Court’s ECF system on all parties registered to receive such service, which includes
the Debtor and the U.S. Trustee.
                                                               /s/ Jacqueline Q. Chiba
                                                              Jacqueline Q. Chiba

                                            Page 7 of 8
Case 22-33553 Document 808 Filed in TXSB on 08/09/24 Page 8 of 8




                           Page 8 of 8
